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                                        Office of the Clerk
                       United States Court of Appeals for the Ninth Circuit
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Molly C. Dwyer
Clerk of Court                                                                        NOV 9 2023
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                                                                                   U.S. COURT OF APPEALS

                                      DOCKETING NOTICE


       Docket Number:           23-3411
       Originating Case Number: 3:23-cv-03880-TLT
       Short Title:             Kennedy v. Google LLC, et al.

      Dear Appellant/Counsel


      Your notice of appeal has been received in the Clerk's office of the United States Court of
      Appeals for the Ninth Circuit. The U.S. Court of Appeals docket number shown above
      has been assigned to this case. You must indicate this Court of Appeals docket number
      whenever you communicate with this court regarding this case.

      Motions filed along with the notice of appeal in the district court are not automatically
      transferred to this court for filing. Any motions seeking relief from this court must be
      separately filed in this court's docket.

      Please furnish this docket number immediately to the court reporter if you place an order,
      or have placed an order, for portions of the trial transcripts. The court reporter will need
      this docket number when communicating with this court.

      Preliminary Injunction Appeal. Circuit Rule 3-3.

      Briefing schedule will be set by future court order.
